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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

                                                           )
       Sony Music Entertainment, et al,                   )
                                                           )
                               Plaintiffs,                )
                                                          )
               v.                                   )             Case No. 1:18-cv-950-LO-JFA
                                                     )            Hon. Liam O’Grady
        Cox Communications, Inc., et al.,           )
                                                     )
                            Defendants.             )
                                                     )
    ________________________________________________ )

                                                  ORDER

           This matter comes before the Court on the Parties’ motions in limine to exclude certain

    evidence at trial. Defendants Cox Communications, Inc., et al. (“Defendants” or “Cox”) filed

    ten separate motions, which are listed below. Dkts. 471,474,478,482,487,490,493.496, 499,

    502. Plaintiffs Sony Music Entertainment, et al., filed an Omnibus Motion in Limine (Dkt. 470)

    comprising eleven distinct requests to the Court, which are also detailed below. The matters are

    all fully briefed, and the Court heard oral argument on November 12,2019. A memorandum

    opinion will follow to address certain matters in further detail.

           As to Defendants' motions, the Court finds the following:

            l. To Preclude Evidence and Testimony Relating to the BMG Litigation. To the extent

    that disputed testimony related to BMG and the relevant Claim Period arises at trial, the Court

    will rule when presented with the evidence at trial. The Court recognizes that this is a separate

    action with different Plaintiffs, and finds that the most efficient way to deal with these objections

    is to rule on admissibility of offered testimony under Fed. R. Evid. 801,804, Fed. R. Civ. P. 32

    and any other rules deemed relevant at the time of trial. The Court disagrees with any argument




                                                                                                        Exhibit 1
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    that Fed. R. Evid. 404 is applicable here. Accordingly, Defendants’ Motion in Limine No. 1

    (Dkt. 471) is hereby DENIED WITHOUT PREJUDICE.

           2. To Preclude Evidence and Testimony Relating to Third-Party Infringement Notices.

    The third-party infringement notices are relevant and admissible. Cumulative notices of

    infringement—particularly those targeted at the same subscribers receiving notices from

    Plaintiffs—are relevant for the many reasons in Plaintiffs’ Opposition (Dkt. 538). As such.

    Defendants’ Motion in Limine No. 2 (Dkt. 474) is hereby DENIED.

           3. To Preclude Evidence and Testimony Relating to Emails and Communications with No

    Connection to Alleged Infringement ofPlaintiffs ’ Works. This evidence is clearly probative and

    relevant to actual knowledge and willfulness in this case, as well as Defendants’ internal policies

    and approach to the protection of Plaintiffs’ works.

           Defendants argue that communications not directed at specific infringement of works in

    suit are rendered inadmissible, and that this is improper propensity evidence. Neither assertion

    can be true. These communications are directly relevant circumstantial evidence regarding the

    policies and employees at issue. Plus, they are offered as evidence of continuing conduct, not

    any past action that could support a propensity argument. For these and other reasons stated in

    Plaintiff s Opposition, Defendants’ Motion in Limine No. 3 (Dkt. 478) is hereby DENIED.

           4. To Preclude Evidence and Testimony ofInfringement and Harm Other Than That

    Allegedly Represented by the RIAA Notices. This motion aligns in several ways with

    Defendants’ Motion to Exclude the Testimony of William H. Lehr, Ph.D. Dkt. 306. In that

    sense, the Court will allow Dr. Lehr to testify to harms outside the RIAA notices to the extent

    relevant to economic forces bearing on the Parties. Dr. Lehr’s testimony has been subject to




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    scrutiny for many years, is generally admissible under Federal Rule of Evidence 702, and will

    allow Defendants an opportunity to raise Cox’s arguments on cross examination.

            But Dr. Lehr’s testimony is subject to limitation. Specific damages-related valuations

    offered to the jury may not include notices unrelated to infringement of works in suit. As such,

    notices to subscribers with fewer than three notices may only be offered as evidence of Cox’s

    knowledge of infringement, not a basis for statutory damages, unless the work identified in the

    notice is a work in suit. The Court finds it appropriate that Plaintiffs measure harms

    commensurate with the set of subscribers identified with three or more notices. The “value” of

    subscribers receiving fewer than three notices may be quantified for purposes of showing Cox’s

    purported economic incentives to tolerate infringement for vicarious liability, but not for actual

    damages specific to this litigation. Similarly, notices from outside the Claim Period are

    inadmissible to inform actual damages unless sent to subscribers that serve to define the set of

    works in suit. Quantifying total infringement notices within the Claim Period and overall

    revenue trends is permissible, as the Court finds that context for the notices in suit is relevant.

            Bundling services is a main part of Cox’s business plan, and valuations considering

    bundled services are relevant and admissible to help the jury understand the context of business

    decisions at issue. Pulse checks are not excluded at this time. The Court will consider any

    further objections at trial.

            With these qualifications. Defendants’ Motion in Limine No. 4 (Dkt. 482) is hereby

    GRANTED IN PART AND DENIED IN PART.

            5. To Exclude Plaintiffs' Exhibit Number 39. The admissibility of the hard drive will be

    determined at trial. Plaintiffs will need to lay a proper foundation for the Court to consider its

    admissibility. Defendants’ Motion in Limine No. 5 (Dkt. 487) is hereby DENIED.



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            6. To Exclude Certain MarkMonitor Evidence. The MarkMonitor evidence will be

    admissible at trial should Plaintiffs lay a proper foundation at that time. The data at issue is not a

    summary within the meaning of Fed. R. Evid. 1006, as Defendants claim, but rather an extraction

    of data that is not materially altered since the time of its collection. Further, it qualifies as a

    business record under Rule 803(6). The Court agrees that “’[producing limited data from a

    larger database is more akin to reviewing a set of documents in response to a discovery request

    and producing only responsive documents ... a smaller subset of data provided as evidence from

    [a] database’ is admissible under Rule 803(6) if all the rule’s elements are met.” Branch v. Gov't

    Employees Ins. Co., 286 F. Supp. 3d 771, 778 (E.D. Va. 2017) (quoting Health Alliance

    Network, Inc. v. Cont i Cas. Co., 245 F.R.D. 121,129 (S.D.N.Y. 2007)). With proper

    authentication, the MarkMonitor evidence satisfies the elements of Rule 803(6), and, therefore.

    Defendants’ Motion in Limine No. 6 (Dkt. 490) is hereby DENIED.

            7. To Preclude Plaintiffs from Relying on Copyright Notices as ProofofDirect

    Infringement. The Parties agree that the use of “infringement” as a conclusion and “infringement

    notice” as evidence of infringement require an instruction to the jury. The Court will await the

    Parties’ invitation to collaborate on an acceptable instruction before trial. Defendants’ Motion in

    Limine No. 7 (Dkt. 493) is GRANTED IN PART AND DENIED IN PART.

           8. To Exclude Certain Evidence Relating to Peer-To-Peer Traffic on Cox's Network. The

    Court finds that Peer-to-Peer (“P2P”) traffic is relevant to Cox’s business model and spending

    decisions, financial incentives, and knowledge of potentially infringing activity. Plaintiffs’

    proposed testimony regarding Procera md other capabilities related to deep packet inspection is

    admissible to the extent that it is relevant to Cox’s anti-piracy conduct. Defendants assert “there

    is no evidence in the record that Cox could have used Procera to control the infringing activity



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    alleged in this case. None.” Dkt. 585, Hrg. Tr. 58 13:15. The Court is not convinced that the

    topic is apt for exclusion, given that Jason Zabek’s performance review from a year before the

    Claim Period notes, “[w]e are still getting our feet wet with Procerra [sic], but are excited about

    how it can assist us in our daily duties.” Gould Ex. 15 at 17 (PX-381, Section 4). Defendants

    are free to offer evidence in rebuttal or to demonstrate corporate policy changes during the Claim

    Period. As such, Defendants’ Motion in Limine No. 8 (Dkt. 496) is hereby GRANTED IN

    PART AND DENIED IN PART.

             9. To Preclude Evidence Relating to Terminations for Non-Payment. Reference to

    termination for non-payment versus for infringement is too far afield and the evidence is

    therefore excluded, unless Cox suggests that they terminate lots of customers for cause. If Cox

    so suggests, then it can be introduced. Accordingly, Defendants’ Motion in Limine No. 9 is

    hereby CONDITIONALLY GRANTED.

             10. To Exclude Cox Performance Evaluations. Cox moves to exclude both performance

    evaluations and separation agreements, specifically those pertaining to Jason Zabek and Joseph

    Sikes. The Parties will have an opportunity to reach an agreement as to the extent that the

    credibility of Messrs. Zabek and Sikes will be at issue.1 The Court will rule after hearing from

    the Parties as to the admissibility of this evidence, and Defendants’ Motion in Limine No. 10

    (Dkt. 502) is hereby DENIED WITHOUT PREJUDICE; Defendants’ objection may be

    renewed at the time the exhibits are sponsored.

            Turning to the Plaintiffs’ omnibus motion in limine (Dkt. 470), the Court finds the

    following:2



    1 At oral argument on November 12,2019, Defendants presented to Plaintiffs and the Court that they will not call
    Mr. Zabek or Mr. Sikes to testify live at trial.
    2 Roman numerals indicate Plaintiffs’ motion numbers both to match their briefs and to distinguish from
    Defendants' motion numbers.

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           I. The Court Should Preclude Evidence or Argument Inconsistent with this Court’s

    Factual Findings in its Summary Judgment Decision Concerning Cos’s DMCA Defense in BMG.

    The Court will consider this evidence as it is presented at trial, just as discussed above in

    Defendants' Motion in Limine No. 1. Plaintiffs’ Motion in Limine is DENIED as to issue I.

           II. The Court Should Preclude Evidence and Argument Concerning Cox's Misleading

    and Unsupported Contention that “96% Stop By 5 Notices. ” There is no adequate foundation

    for the information presented in the “96% Stop By 5 Notices” evidence. Defendants have had

    ample time to produce such a foundation, and failed to do so. Discrepancies in numbers and

    figures as detailed in Plaintiffs' briefs raise an alarming number of questions that demand the

    underlying data be produced, not just the emails Defendants offer in support. See Pis.' Br. Ex. 5,

    Dkt. 476-7. The Court does not believe that Defendants can authenticate this evidence in good

    faith for many reasons, including a preview of proposed authentication and clarification in

    Defendants’ Opposition (Dkt. 543). Discussing the confusion between “notices” and “tickets,”

    Defendants offer:

                   Beck explained at deposition that the chart represents the number
                   of Cox’s customer facing actions (i.e. tickets memorializing notices
                   sent to customers). His underlying email to Cadenhead thus
                   supports the assertion in DX-74 that it is reporting on just that:
                   “notices sent to customers.”

    Id. 5-6 (footnote omitted) (emphasis added). The Court understands this to mean, in other

    words, that tickets and notices are apples and oranges, but here, we are talking about apples so

    they are called oranges. The Court finds this to be unhelpful.

           But even if Cadenhead could, arguendo, authenticate the slides, they are still

    inadmissible hearsay. The email does not qualify as a business record under Fed. R. Evid.

    803(6), nor do the slides that purportedly resulted from it. “While properly authenticated emails



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    may be admitted into evidence under the business records exception," the evidence is not

    properly authenticated here, as just discussed. U.S. v. Cone, 714 F.3d 197,220 (4th Cir. 2013).

    Given the deficiency in underlying data to support the slides, they likewise are inadmissible as a

    summary under Fed. R. Evid. 1006. Accordingly, Plaintiffs’ Motion in Limine is GRANTED as

    to issue II.

   ^        HI. The Court Should Preclude Any Evidence or Argument Relating to the Policies or

    Practices of Other ISPs (Including the Copyright Alert System). Defendants are permitted to put

    on evidence about the Copyright Alert System (“CAS”) as well as its own graduated response

    system, the Cox Abuse Ticket System (“CATS”). Evidence about other ISPs as identified in the

    Stroz Friedberg Reports will also be admissible to the extent that it is relevant and there is a

    proper foundation. As such, and for much of the reasoning in Defendants’ pleadings. Plaintiffs’

    Motion in Limine is DENIED as to issue HI.

            IV. The Court Should Preclude Any Argument that Cox is Not Liable for Infringement

    Over its Network by Users Other Than Named Account Holders. Defendants intend to challenge

    direct infringement evidence by questioning the identities of actual end users. The Court notes

    that no specific names are required to establish direct infringement, as Plaintiffs may establish

    direct infringement using circumstantial evidence. But Cox is not precluded from introducing

    relevant evidence to weaken the inference of infringement. Business subscribers, however, are

    not categorically excluded from Defendants’ basis of liability. Thus, Plaintiffs’ Motion in

    Limine is GRANTED IN PART AND DENIED IN PART as to issue IV.

            V. The Court Should Preclude Any Evidence ofArgument Concerning the MarkMonitor

    '236 Spreadsheet. The MarkMonitor '‘236 Spreadsheet will only confuse the jury in this case,

    and is largely cumulative of the ‘431 Spreadsheet. Further, Defendants’ claim that the data in the



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    ‘236 Spreadsheet casts doubt on the ‘431 Spreadsheet is unsupported, as Cox makes arguments

    based on a largely empty data set. The only conclusion properly drawn, the Court finds, is that

    MarkMonitor began keeping more data some time in or after 2015—well after the claim

    period—and the later-added data is not relevant. For these and many of the reasons stated in

    Plaintiffs’ pleadings, Plaintiffs’ Motion in Limine is hereby GRANTED as to issue V.

            VI. The Court Should Exclude the REV0003444 Spreadsheet and Any Related Testimony

    or Argument. The Audible Magic Spreadsheet, as the REV00003444 is also called, is

    inadmissible. It is unauthenticated, as Cox made a choice not to inquire about it or Audible

    Magic’s data collection practices more specifically during depositions. Defendants’ expert Dr.

    Feamster cannot authenticate it, as Cox suggests, simply because he was present at the deposition

    in which Mr. Ikezoye from Audible Magic referenced “transaction logs.” The foundation for the

    data is vague, the data itself is incomplete, and the Parties’ attempts to explain its significance

    thus far suggest it will not help the jury in its factfinding role. Plaintiffs’ Motion in Limine is

    hereby GRANTED as to issue VI.

            VII. The Court Should Preclude Emails Cox Receivedfrom Customers Purporting to

    Respond to Plaintiffs ’ Infringement Notices. Defendants intend to offer 1,800 emails at trial as

    evidence that Cox’s subscribers in some way objected to the emailed infringement tickets from

    Cox. The Parties agree that the truth of the content of the email is hearsay, but Defendants offer

    additional relevancy regarding: the knowledge element of contributory infringement; a rebuttal

    to Plaintiffs’ claim that no subscriber disputed an allegation of infringement; and the claim that it

    was reasonable for Cox not to terminate repeat infringers. If Defendants can demonstrate that

    the emails are relevant to Cox’s state of mind during the Claim Period, not retroactively,

    Defendants may offer the evidence. Limitations on its admissibility and potential prejudice



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    under Rule 403 will be determined at trial. Plaintiffs’ Motion in Limine is hereby GRANTED

    IN PART AND DENIED IN PART as to issue VII.

            VUL Cox Should be Precludedfrom Presenting Evidence and Argument Concerning

    Plaintiffs' Track-Level Revenues from the Works in Suit. Mr. Tregillis’ testimony regarding

    pricing calculations based on track-level data will be permitted, and he can testify to his

    methodology and findings. The Court is mindful of the sensitive nature of Plaintiffs’ proprietary

    pricing information, though several years old, and thus Mr. Tregillis may testify to summary

    findings without the underlying documents being admitted into evidence. Defendants are

    advised to avoid any testimony or demonstratives that might compromise proprietary pricing

    information as to specific Plaintiffs or works without authorization from the Court. As such.

    Plaintiffs’ Motion in Limine is hereby GRANTED IN PART AND DENIED IN PART as to

    issue VIII.

           IX. The Court Should Exercise its Discretion to Preclude Cox from Offering Deposition

    Testimonyfrom Witnesses it Controls and Could Bring to Trial. Upon consideration of the

    Parties’ arguments and governing law, the Court does not find that Plaintiffs met their burden to

    show that Cox has procured the absence of the witnesses in question. Accordingly, Defendants

    are not compelled to invoke contractual obligations to produce particular witnesses at trial, and

    Plaintiffs’ Motion in Limine is hereby DENIED as to issue IX.

           X. Cox Should be Precludedfrom Offering Live Testimonyfrom Four Key Witnesses it

    Refuses to Make Available for Live Examination in Plaintiffs' Case in Chief. For the reasons

    stated from the bench, no deposition testimony shall be offered at trial for a witness who will

    appear to give live testimony. Plaintiffs’ Motion in Limine is hereby GRANTED as to issue X.




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          XI. The Court Should Preclude Testimony from Victoria Sheckler. PlaintifTs argue that

   Defendants should be precluded from calling RIAA employee Victoria Sheckler to testify

   because, among other objections, she is not the Fed. R. Civ. P. 30(b)(6) designee. Considering

   the Parties’ arguments surrounding burdens on the witness and cumulative testimony, the Court

   will not preclude Defendants from calling Ms. Sheckler. The fact that Mr. Marks was the

   30(b)(6) witness for RIAA does not disqualify Ms. Sheckler as a witness altogether. Further, the

   Court trusts that the Parties are capable of coordinating such that the witness would not be tom

   away from work for the entirety of the trial. Plaintiffs’ Motion in Limine is hereby DENIED as

   to issue XI.

           It is SO ORDERED.




   November       2019
   Alexandria, Virginia




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